                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE

 UNITED STATES OF AMERICA

 v.                                           No. 2:25-mj-00108-KFW

 NERY ALDAMI CRUZ-AGUILAR

            AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Scott M. Hanton, Border Patrol Agent of the United States Border Patrol, being

first duly sworn, hereby depose and state as follows:

       1.     I am a Border Patrol Agent-Intelligence with the United States Border

Patrol ("USBP"), currently assigned to the Houlton Sector Intelligence Unit in Hodgdon,

Maine. I have been an agent with the USBP since November 29, 2010. I completed the

USBP Academy in February of 2011, where I received instruction in constitutional law,

immigration law, criminal law, and federal and civil statutes. I have also received

training in the detection, interdiction, and arrest of narcotics smugglers, alien

smugglers, and aliens illegally present in the United States. In the course of my

employment with USBP, I have been assigned to the Highway 90 and Highway So

immigration checkpoints in Arizona, where I was the primary agent for multiple

narcotic and human smuggling cases.

       2.     From March 2020 to August 2022, I was assigned as a Case Agent for the

Tucson Sector Prosecution Unit. I have conducted numerous criminal investigations

involving illicit activity and have gathered and structured evidence and facts pertaining

to administrative and criminal immigration cases. In the course of my duties, I have

taken sworn statements from material witnesses and suspects. I routinely perform

record checks through various law enforcement databases to establish accuracy of
information as well as to gather facts further relevant to a respective case. I have acted

as a liaison between the United States Attorney's Office and field agents, and I have

assisted fellow agents in the development of their cases. I am currently assigned to

collateral duty as a Houlton Sector Prosecutions Case Manager within the Law

Enforcement and Operations Division.

       3.     I make this affidavit in support of a Criminal Complaint charging NERY

ALDAMI CRUZ-AGUILAR with one count of Illegal Re-Entry After Deportation, in

violation of Title 8, United States Code, Section 1326(a). The information contained in

this affidavit is based on my review of reports prepared by other law enforcement

officers and conversations with involved personnel, as well as my training and

experience as a prosecution case agent. This affidavit is intended to provide

                       STATEMENT OF PROBABLE CAUSE

       4.     On March 12, 2025, at approximately 12:55 AM, a Border Patrol Agent

("BPA") assigned to the Calais Border Patrol Station was contacted by Old Orchard

Beach Police (OOBPD) officers that indicated they had performed a motor vehicle stop

for driving at night without taillights near 189 Saco Avenue, Old Orchard Beach, Maine.

The officers informed the BPA that the driver and sole occupant of the vehicle, a 2010

Volkswagen Jetta bearing a Maine registration, had presented an international driver's

license with no other supporting documents. Officers were unable to verify the

individual's identification, which lead them to call the BPA for assistance. The officer

further stated that the name on the identification was Marvin Aguilar-Lopez and that
they had learned the subject was from Guatemala.
      5.      At approximately 1:29 AM, the BPA arrived at the scene. The BPA
approached the operator, who was standing outside of the vehicle speaking with the
officers. After speaking with the individual, later confirmed to be Marvin Aguilar-Lopez,
the BPA placed Aguilar-Lopez into immigration custody as an alien being illegally

present in the United States. An inventory search ofthe vehicle revealed a Guatemalan

passport bearing CRUZ-AGUILAR, Nery Aldami. A record check by the BPA revealed

that this subject would also be illegally present, having been previously removed from

the United States. The BPA subsequently began to depart the location.

      6.     Shortly following the BPA's departure, two males arrived at the scene of

the traffic stop on foot. Old Orchard Officers, who had begun clearing the scene, asked

the individuals ifthey were looking for Aguilar-Lopez, and asked for identification. One

subject provided identification to officers bearing the name CRUZ-AGUILAR, Nery

Aldami. Officers called the BPA for assistance. The BPA agreed to return to the scene;

the BPA conducted a field interview and determined that the subject's identity was the
same as the passport found in the vehicle during the inventory search. The BPA read

CRUZ-AGUILAR his rights in the Spanish language. CRUZ-AGUILAR stated that he

understood his rights. CRUZ-AGUILAR was asked ifhe had been previously arrested by

the U.S. Border Patrol. He stated that he had not, but when confronted with record

checks that indicated otherwise, CRUZ-AGUILAR admitted that he had been previously

apprehended and had forgot. CRUZ-AGUILAR was asked ifhe had been previously

deported, and he said that he had. CRUZ-AGUILAR indicated he was a citizen and

national ofGuatemala. CRUZ-AGUILAR was subsequently placed into immigration
custody and transported for processing.

      7.     A records check ofCRUZ-AGUILAR found no potential claim to United

States Citizenship. The records check also determined that CRUZ-AGUILAR had been
previously removed from the United States on about July 23, 2021, at Alexandria,
